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IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: November 29, 2022.
                         IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                               ________________________________________
                                    HOUSTON DIVISION
                                                               MICHAEL M. PARKER
                                                        UNITED STATES BANKRUPTCY JUDGE
 In re:                                           §                   Chapter 11
________________________________________________________________
                                 §
 Free Speech Systems LLC                          §                  Subchapter V
                                                  §
          Debtor.                                 §             Case No. 22-60043 (cml)


                         IN THE UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

 In re:

 NEIL HESLIN, SCARLETT LEWIS,
 LEONARD POZNER, VERONIQUE DE
 LA ROSA, MARCEL FONTAINE,

                Plaintiffs,

          v.                                                 ADVERSARY NO. 22-06017

 ALEX E. JONES, FREE SPEECH
 SYSTEMS, LLC, PQPR HOLDINGS
 LIMITED, LLC, PLJR HOLDINGS, LLC,
 PLJR HOLDINGS LIMITED, LLC,
 CAROL JONES, DAVID JONES, AEJ
 HOLDINGS, LLC AEJ TRUST 2019,

          Defendants.




ORDER APPROVING TEXAS PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMITS   PAGE | 1
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 DAVID    WHEELER,     FRANCINE
 WHEELER, JACQUELINE BARDEN,
 MARK BARDEN, NCOLE HOCKLEY,
 IAN HOCKLEY, JENNIFER HENSEL,
 DONNA SOTO, CARLEE SOTOPARISI,
 CARLOS M. SOTO, JILLIAN SOTO,
 WILLIAM    SHERLACH,    ROBERT
 PARKER, WILLIAM ALDENBERG,

 Intervenors.


          ORDER APPROVING TEXAS PLAINTIFFS’ UNOPPOSED MOTION FOR
                     LEAVE TO EXCEED PAGE LIMITS

                                        (Related to ECF No.    )



       On November 28, 2022, the Texas Plaintiffs (as defined in the Motion for Leave) filed

their Unopposed Motion for Leave to Exceed Page Limits (“Motion for Leave”). The Court finds

and concludes that cause exists grant the Motion for Leave. Accordingly, it is hereby:

       ORDERED that the Texas Plaintiffs Motion for Abstention and Remand may exceed the

10 page limit promulgated under Local Rule 7007.




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ORDER APPROVING TEXAS PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMITS       PAGE | 2
